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           EXHIBIT 2
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                                                                      Page 1


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
- - - - - - - - - - - - - - - - - - - - x
MARIA SCHNEIDER, UNIGLOBE
ENTERTAINMENT, LLC, and AST
PUBLISHING LTD., individually
and on behalf of all others
similarly situated,

           Plaintiffs,
                               Case No.
   -against-                  3:20-cv-04423-JD

YOUTUBE, LLC; and GOOGLE LLC;

           Defendants.

- - - - - - - - - - - - - - - - - - - - x

           **CONFIDENTIAL**
         Videotaped oral deposition of GREG
    HALM, taken pursuant to notice, was held
    at the law offices of BOIES SCHILLER &
    FLEXNER LLP, 55 Hudson Yards, New York,
    New York 10001, commencing January 18,
    2023, 9:07 a.m., on the above date,
    before Leslie Fagin, a Court Reporter
    and Notary Public in the State of New
    York.
                        - - -




             MAGNA LEGAL SERVICES
      320 West 37th Street, 12th Floor
         New York, New York 10018
               (866) 624-6221
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                                              Page 2                                            Page 4
 1                                                      1             G. Halm
 2   APPEARANCES:
 3
                                                        2      Boies Schiller Flexner on behalf of the
 4   KOREIN TILLERY, LLC                                3      plaintiffs.
     Attorneys for Plaintiffs                           4         MR. KRAMER: Andrew Kramer with
 5         205 North Michigan, Suite 1950
           Chicago, Illinois 60601
                                                        5      Wilson Sonsini on behalf of the
 6   BY:     CAROL O'KEEFE, ESQUIRE                     6      defendants.
 7             -and-                                    7         MR. WALDRON: Jeffrey Waldron of
 8   BOIES SCHILLER & FLEXNER LLP                       8      Boies Schiller Flexner on behalf of
           55 Hudson Yards, 20th Floor
 9         New York, New York 10001                     9      plaintiffs.
     BY:     PHILIP C. KOROLOGOS, ESQUIRE              10         MS. O'KEEFE: Carol O'Keefe of
10         JEFFREY WALDRON, ESQUIRE                    11      Korein Tillery on behalf of plaintiffs.
11
     WILSON SONSINI GOODRICH & ROSATI                  12         MR. KOROLOGOS: We also have Chuck
12   Attorneys for Defendants                          13      Cowan present.
           650 Page Mill Road                          14   G R E G H A L M, called as a witness,
13         Palo Alto, California 94304-1050
     BY:     ANDREW KRAMER, ESQUIRE
                                                       15     having been duly sworn by a Notary
14                                                     16     Public, was examined and testified as
15   ALSO PRESENT:                                     17     follows:
16   CHARLES COWAN
17   JACOB USCINOWICZ, Videographer
                                                       18   EXAMINATION BY
      Magna Legal Services                             19   MR. KOROLOGOS:
18                                                     20      Q. Good morning.
19
20
                                                       21      A. Good morning.
21                                                     22      Q. Would you state your name and
22                                                     23   address, please?
23                                                     24      A. My name is Greg Halm.
24
25                                                     25         Are you asking for my home address

                                              Page 3                                            Page 5
 1                                                      1              G. Halm
 2           (Plaintiffs' Exhibit 170, copy of          2   or business?
 3        Greg Halm's report, marked for                3      Q. Business address.
 4        identification.)                              4      A. 2200 Powell Street, Suite 1200 in
 5           (Plaintiffs' Exhibit 171, copy of          5   Emeryville, California.
 6        Dr. Cowan's report of November 17, 2022,      6      Q. You were retained as an expert in
 7        marked for identification.)                   7   this case on behalf of defendants, is that
 8           HE VIDEOGRAPHER: Good morning. We          8   right?
 9        are now on the record.                        9      A. Correct.
10           This begins videotape No. 1 in the        10      Q. Do you recall when you were
11        deposition of Greg Halm in the matter of     11   retained?
12        Maria Schneider v. YouTube, LLC.             12      A. I believe it was in late May,
13           Today is Wednesday, January 18,           13   approximately, of 2022.
14        2023 and the time is now approximately       14      Q. I see you brought what appears to
15        9:07 a.m.                                    15   be a copy of your report, is that right?
16           This deposition is being taken at         16      A. That's correct.
17        Boies Schiller Flexner LLP.                  17      Q. Let me hand you what we have marked
18           The videographer is Jacob                 18   as Plaintiffs' Exhibit 170.
19        Uscinowicz of Magna Legal Services and       19          If you can confirm for me that is a
20        the court reporter is Leslie Fagin of        20   copy also of your report?
21        Magna Legal Services.                        21      A. Yes, it appears to be. The only
22           Will counsel and all parties              22   comment I would make is that my copy also
23        present state their appearances and who      23   contains the schedules that were referenced.
24        think represent.                             24   There are maybe four pages at the back end
25           MR. KOROLOGOS: Phil Korologos with        25   which were also provided when I submitted my

                                                                              2 (Pages 2 to 5)
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 1             G. Halm                                1              G. Halm
 2   report.                                          2   owner of the copyrighted work and if that
 3       Q. Okay. I may refer to your report          3   video is still on YouTube, my understanding
 4   throughout the deposition as Plaintiffs'         4   is that the court ruled that that would grant
 5   Exhibit 170 or your report, but since you        5   a license to YouTube and that would also --
 6   confirmed for me they are the same, feel free    6   that fact would also make a class member
 7   to refer to either version that you have in      7   perhaps not eligible for inclusion in one or
 8   front of you.                                    8   more of the classes.
 9       A. Thank you.                                9          In addition to those factors, I did
10       Q. Have you had a chance to review          10   attend Dr. Cowan's deposition yesterday and
11   your report and its appendices since you        11   heard his testimony and that perhaps caused
12   signed it in December of 2022?                  12   me to form some new opinions. Those are not
13       A. Yes.                                     13   all fully developed since that was just
14       Q. Is there anything you wish to            14   yesterday.
15   correct in the report?                          15       Q. Even though they may not be fully
16       A. It's not so much a correction as a       16   developed, what additional opinions have you
17   minor addition to -- as a minor addition.       17   arrived at or been considering since Dr.
18          I'm happy to tell you what that is       18   Cowan's deposition yesterday?
19   if you would like me to.                        19       A. One of them relates to paragraph 63
20       Q. Please.                                  20   of Dr. Cowan's report, and I'm turning right
21       A. Footnote 18 on page 10 lists a           21   now in my report because I know I cite a
22   number of copyright tools that YouTube uses     22   portion of paragraph 63 which is cited on
23   and footnote 18 should also list the content    23   page 15 of my report.
24   verification program or CVP as one of those     24          And so generally, as a contextual
25   tools.                                          25   matter, it was my impression yesterday that

                                            Page 7                                              Page 9
 1              G. Halm                               1              G. Halm
 2       Q. Any other corrections to your             2   Dr. Cowan was describing a number of analyses
 3   report?                                          3   he conducted which are not described with
 4       A. No.                                       4   sufficient specificity in his report and
 5       Q. Anything to add to your report?           5   provided explanations for the meaning of what
 6       A. No.                                       6   was written in his report.
 7       Q. Any additional opinions beyond what       7          When I prepared my rebuttal report
 8   you've set forth in your report that you have    8   I prepared it in the context of what was
 9   arrived at since you wrote your report?          9   written in his report and my understanding of
10       A. Since I wrote my report, the court,      10   it and he provided an explanation yesterday
11   as I understand it, made a summary judgment     11   for paragraph 63 that struck me as not how I
12   ruling that may impact the methodology for      12   could possibly have read the writings in his
13   identifying class members.                      13   report and so it was -- it struck me as a
14           As I understand it, there is three      14   puzzling statement, so I will read that
15   potential areas where that could have an        15   sentence and then provide the explanation.
16   impact and those areas are not reflected in     16          So this sentence, which was from
17   Dr. Cowan's report.                             17   his paragraph 63, is Even if the data were
18           Those three areas, one of them, I       18   perfect, I've concluded there would be no
19   believe, relates to the relevant time period    19   reliable way to estimate the number of class
20   for inclusion in the class which is the         20   members and works associated to each class
21   cutoff of July 2, 2019, I believe, rather       21   when one is only 90 days sampled out of 826
22   than July 2, 2017.                              22   days in the investigation period.
23           And then, as I understand it, the       23          Specifically where it says there
24   other areas, going from memory here, relate     24   would be no reliable way to estimate the
25   to if a video was uploaded to YouTube by the    25   number of class members, my understanding

                                                                             3 (Pages 6 to 9)
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                                          Page 10                                             Page 12
 1              G. Halm                               1             G. Halm
 2   yesterday from Dr. Cowan's testimony was that    2      A. No.
 3   that was meant to convey that there would be     3      Q. Were you asked not to identify any
 4   a high degree of variants or essentially a       4   class member?
 5   large margin of error in any estimates,          5      A. I was never given that instruction.
 6   however, the writings describes a reliable       6      Q. Did you have any discussions with
 7   way to estimate. It's not necessarily, at        7   anybody about whether you should identify any
 8   least as I read it, describing the               8   class member?
 9   reliability of the estimate itself or the --     9          MR. KRAMER: I will caution you, if
10   not the reliability of the estimate, but the    10      you had discussions with counsel, not to
11   precision of the estimate.                      11      reveal the substance of those
12          So a reliable method can yield a         12      communications, it's privileged.
13   wide margin of error, if you will. That was     13      A. One way or the other, I don't
14   one take away that I had from yesterday.        14   recall discussions of whether I should or
15          There were other perhaps                 15   should not identify any class members.
16   observations from various things that Dr.       16      Q. Did you have any discussions with
17   Cowan said. Maybe one correction, as well,      17   anybody about whether you should provide an
18   for something that doctor -- I don't know if    18   estimate of the size of any class?
19   it was something he said, but there is a        19          MR. KRAMER: Same instruction.
20   quote from an auditing textbook in my report.   20      A. No.
21   I'm just finding the location of that quote.    21      Q. What's your understanding of Dr.
22   On page 35, that refers to discovery sampling   22   Cowan's assignment in this case?
23   and I just wanted to clarify that I didn't      23      A. Well, I would say, generally, it
24   cite that quote advocating for discovery        24   was to identify class members and estimate
25   sampling, it was more a general sampling        25   the size of the class or each of the classes.

                                          Page 11                                             Page 13
 1             G. Halm                                1              G. Halm
 2   principle regarding locating occurrences of      2          I believe I cited more precisely
 3   something in a population when perhaps the       3   what he said somewhere in my report. I think
 4   rate of occurrence is very low.                  4   that's a general description of what he was
 5      Q. Anything else?                             5   asked to do.
 6      A. Not necessarily, although, again,          6          So I would refer wherever I
 7   that was yesterday, so I'm still evaluating      7   provided a more -- I know I provided a
 8   what was said and would like to review the       8   description in my report, so I would refer to
 9   transcript, as well.                             9   that, to the extent it clarifies anything.
10      Q. In terms of corrections or                10          MR. KOROLOGOS: Off the record.
11   additions to your report, are your answers      11          (Off the record.)
12   any different if we make sure we include the    12          THE VIDEOGRAPHER: The time is now
13   appendices and schedules?                       13      approximately 9:23 a.m. We are now
14      A. They are not different.                   14      going off the record.
15      Q. What were you asked to do in this         15          (Off the record.)
16   case?                                           16          THE VIDEOGRAPHER: The time is now
17      A. I was asked to evaluate Dr. Cowan's       17      approximately 9:27 a.m. We are now
18   methodology.                                    18      going back on the records.
19      Q. Anything else?                            19      Q. Before the short interruption, I
20      A. No.                                       20   was asking you about Dr. Cowan's assignment
21      Q. Were you asked to identify any            21   and your understanding of that.
22   class members?                                  22          Could you help me find in your
23      A. I was not.                                23   report where you reference what his
24      Q. Were you asked to provide any             24   assignment was?
25   estimate of the size of any class?              25      A. Paragraph 3. So my understanding

                                                                          4 (Pages 10 to 13)
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                                          Page 14                                              Page 16
 1              G. Halm                               1              G. Halm
 2   is his assignment was to identify a              2   yourself to identify any class members for
 3   methodology to identify class members,           3   any of the classes in this case?
 4   determine the number of class members in each    4       A. Not independent of the methodology
 5   of the four proposed classes and determine       5   described by Dr. Cowan.
 6   the number of allegedly infringing videos or     6       Q. Did you use Dr. Cowan's methodology
 7   number of infringing works that are allegedly    7   to try to identify any class members?
 8   infringed in those videos and associated with    8       A. I implemented aspects of his
 9   each class member.                               9   methodology. In my opinion, the methodology
10       Q. Is that a fair description of your       10   doesn't lead to a systematic identification
11   understanding of Dr. Cowan's assignment?        11   of class members, so it seems to, at least as
12       A. It is.                                   12   described in the report, stops short and so I
13       Q. Is it your understanding that Dr.        13   didn't implement any additional steps to do
14   Cowan's assignment included -- let me           14   so.
15   withdraw that.                                  15          There is also other flaws in his
16          Is it your understanding that Dr.        16   methodology that, in my view, would cause it
17   Cowan was asked to identify class members to    17   to not reliably identify class members if
18   be included in his report?                      18   implemented, so I didn't -- did not take the
19       A. I don't know whether he was given        19   steps to try to identify class members by
20   that specific instruction, one way or the       20   layering on some elements of additional work
21   other.                                          21   or applying my own judgment to filter through
22          My understanding is that that would      22   search results or that sort of thing.
23   be encompassed within the development of the    23       Q. So was that a no, that you did not
24   methodology to do so.                           24   use Dr. Cowan's methodology to try to
25       Q. Is it your opinion, as you sit here      25   identify a class member?

                                          Page 15                                              Page 17
 1             G. Halm                                1             G. Halm
 2   today, having sat through Dr. Cowan's            2       A. I suppose that's a no, yeah.
 3   deposition yesterday, that Dr. Cowan             3       Q. Did you attempt to estimate the
 4   attempted to identify class members, but was     4   size of any class in this case?
 5   unable to identify class members?                5       A. No, that would require first
 6      A. I know that he has attempted to            6   identifying class members, which I didn't
 7   identify class members. I heard his              7   identify, so I didn't attempt to estimate the
 8   testimony that he had identified class           8   size.
 9   members, however, the identity of those class    9          Let me just add a clarifying
10   members has not been provided such that I can   10   comment with respect to identification of
11   review and evaluate whether they -- the         11   class members, which I think is the intention
12   identification of those class members is        12   of your question is, which is identifying
13   consistent with the class definitions or the    13   class members apart --
14   methodology he proposes.                        14       Q. I hate to interrupt the witness,
15      Q. And I take it from your earlier           15   but there is no question pending. If there
16   testimony today that you did not attempt to     16   is something you want to add to your last
17   identify any class members yourself, is that    17   answer to correct it, but your counsel gets
18   right, for any class?                           18   to ask questions at the end, so if there are
19      A. I evaluated elements of Dr. Cowan's       19   things you wish to clarify, I'm sure he will
20   methodology that would work towards that end.   20   clear that up for you.
21          As I reviewed the methodology, it        21       A. Okay.
22   stopped short of where it could need to go to   22       Q. In your report, if you turn to
23   identify those class members, so it didn't      23   paragraph 14, that's on page 5. Paragraphs
24   lead to that conclusion.                        24   14 and 15 are the summary of your opinions,
25      Q. Did you or did you not attempt            25   correct?

                                                                          5 (Pages 14 to 17)
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                                          Page 18                                               Page 20
 1             G. Halm                                1             G. Halm
 2       A. Correct.                                  2          I may not be able to identify all
 3       Q. And 14 has three different subparts       3   of them, but, for example, in paragraph 7 on
 4   of which each subpart has three or four          4   page 4, the report says, This report
 5   subparts, am I seeing that right?                5   encompasses the following task, present and
 6       A. Correct.                                  6   test a methodology using data provided by
 7       Q. In part 14-A, you state that Dr.          7   defendants and databases commonly used in the
 8   Cowan has failed to identify a single class      8   industry to identify members of the classes.
 9   member, apart from the named plaintiffs.         9          So in order to test a methodology,
10          Do you see that?                         10   I would understand that one would need to try
11       A. I do.                                    11   to locate class members, so that would be one
12       Q. Is it your opinion that Dr. Cowan        12   example.
13   attempted to identify class members, but then   13          In paragraph 57, he refers to
14   failed to do so?                                14   efforts undertaken to accomplish his task of
15       A. It's my understanding he attempted       15   estimating the number of owners and the
16   to do so, that's what I heard yesterday at      16   number of works posted on YouTube --
17   the deposition. It is still my opinion that     17   paragraph 57, Dr. Cowan talks about efforts
18   no members apart from the named plaintiffs      18   to estimate the number of owners and number
19   are identified in his report.                   19   of works posted on YouTube.
20          Yesterday I heard Dr. Cowan testify      20          There is an analysis in paragraph
21   that he had identified some number of class     21   65 through 68 about an inexplicable dip in
22   members.                                        22   the takedown data. I would assume that that
23       Q. And before yesterday, were you of        23   was part of -- that was analysis undertaken
24   the opinion that Dr. Cowan had attempted to     24   along the ends of trying to locate class
25   identify a class member?                        25   members, it would appear.

                                          Page 19                                               Page 21
 1             G. Halm                                1             G. Halm
 2      A. Yes.                                       2          Paragraph 69 has a substantive
 3      Q. And before yesterday, were you of          3   discussion about challenges posed by the data
 4   the opinion that Dr. Cowan had attempted to      4   which would seem to perhaps have been
 5   identify class members, but had failed to do     5   discovered undertaking an analysis of trying
 6   so?                                              6   to locate class members.
 7      A. Correct, based on his report.              7          There is a statement in paragraph
 8      Q. What in his report gave you that           8   78 that his methodologies are effective,
 9   understanding?                                   9   rather than would be effective, which implies
10      A. There is no class members                 10   in perhaps the present tense that the
11   identified in his report.                       11   methodology works in his view.
12      Q. What in his report gave you the           12          In paragraph 93, he says, to
13   understanding that he had attempted to          13   determine works that have at least one ISRC
14   identify them, but not been able to do so?      14   code, I tested the search for works using the
15      A. To answer that question, I would          15   search tool on the Sound Exchange website.
16   like to see a copy of his report.               16   For each work, I created a copyright on the
17      Q. Let me show you what the court            17   name or the artist name and the title of the
18   reporter has previously marked as Plaintiffs'   18   copyrighted work. From the top 100 results
19   Exhibit 171, which is a copy of Dr. Cowan's     19   presented by the Sound Exchange search tool,
20   report of November 17, 2022.                    20   I choose, if available, a single ISRC code
21      A. Thank you for that.                       21   with the artist's name or copyright owner and
22          Would you like me to answer the          22   title match, so he, there, refers to the fact
23   question that you just asked based upon --      23   that he did test that method.
24      Q. Please. Thank you.                        24          In paragraph 96, he discusses a
25      A. You're welcome.                           25   process for analyzing or cleaning, if you

                                                                          6 (Pages 18 to 21)
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                                          Page 38                                             Page 40
 1              G. Halm                               1             G. Halm
 2   of my opinions. I don't know that that's         2          14-B, before we get to the
 3   actually possible.                               3   subparts, reads, Dr. Cowan's proposed
 4          For example, you are essentially --       4   methodologies are so severely flawed that
 5   the question seems to ask me to assume away      5   they cannot adequately serve the purpose of
 6   14-B.                                            6   identifying class members, if any.
 7       Q. Well, where in 14-A do you rely on        7          Do you see that?
 8   the opinions set forth in 14-B?                  8       A. I do.
 9       A. 14-A does not rely on 14-B, but           9       Q. And I take it from what you told me
10   your hypothetical asked me to assume that his   10   a moment ago, this is not conveying that it
11   methodology, as presented, or his efforts to    11   is not possible to identify any class
12   apply his method as he presents it did          12   members, right?
13   identify class members effectively and that     13       A. Correct.
14   runs directly to 14-B, which is dealing with    14       Q. So I'm not sure I understand why
15   his methodology.                                15   the hypothetical I've asked you to assume,
16          If you were asking me to assume, I       16   that Dr. Cowan was able to identify some, but
17   don't want to be too helpful here, but maybe    17   not all class members, conflicts, in your
18   if you were asking me to assume that he         18   mind, with 14-B, when I ask whether that
19   expressed the opinion that he had identified    19   hypothetical causes you to change any of the
20   class members applying his methodology rather   20   opinions identified in 14-A?
21   than the factual assertion that he did, so if   21       A. Well, unless I'm misunderstanding
22   it was his view that he had, for example,       22   your question, it would seem you are asking
23   then I wouldn't have a conflict with 14-B.      23   me to assume that Dr. Cowan would apply his
24       Q. Let me ask you about 14-B for a          24   methodology to identify at least one class
25   second.                                         25   member. That's the part of the question to

                                          Page 39                                             Page 41
 1              G. Halm                               1              G. Halm
 2          Are you saying that 14-B says that        2   me that seems troubling.
 3   it's impossible to identify any class            3          If perhaps you are asking me if he
 4   members?                                         4   applied -- to assume he applied some other
 5       A. No.                                       5   methodology to identify at least one class
 6       Q. Is it your opinion in this case,          6   member, that's a different hypothetical.
 7   aside from whether it's in 14-B or not, that     7       Q. It would be. But I still don't see
 8   it is not possible to identify any class         8   why the hypothetical that I have asked that
 9   members in this case?                            9   used his methodology to identify some class
10       A. No.                                      10   members, but not all, conflicts with what you
11       Q. If you assume that Dr. Cowan used        11   say in 14-B, when we established that 14-B
12   his methodology and was able to identify some   12   does not offer the opinion that it is not
13   number, but not all, class members, does that   13   possible, using Dr. Cowan's methodologies, to
14   change any of your opinions set forth in        14   identify any class member?
15   14-A?                                           15       A. That's a different statement
16       A. We still run into the problem of         16   because you just added now, it's not
17   14-B because there is problems with the way     17   impossible using Dr. Cowan's methodology.
18   he proposes to go about identifying that, as    18          I would say it seems to be
19   expressed in the report, seem to be             19   impossible, using Dr. Cowan's methodology. I
20   unworkable methods --                           20   don't have the opinion that it's impossible
21       Q. Well --                                  21   to identify class members using some other
22       A. -- in your hypothetical, sorry.          22   methodology.
23       Q. Thank you.                               23       Q. What methodology?
24          14-B seems to be talking about --        24       A. I haven't developed a methodology
25   let me withdraw that.                           25   on my own to identify class members. I

                                                                        11 (Pages 38 to 41)
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                                           Page 42                                            Page 44
 1              G. Halm                               1             G. Halm
 2   haven't been asked to do that.                   2      Q. Are you finished?
 3       Q. Did you consider any such                 3      A. I am.
 4   methodology?                                     4      Q. When you say that in section B of
 5       A. I was not asked to undertake my own       5   paragraph 14 of your report, you are saying
 6   effort to independently develop a methodology    6   that Dr. Cowan's methodologies cannot
 7   to identify class members or estimate the        7   identify any class members reliably, are you
 8   size of the classes and so I did not do that.    8   saying that there are no class members that
 9       Q. Even though you may not have been         9   can be identified by that methodology?
10   asked, did you consider any such methodology?   10      A. In the absence of a methodology to
11       A. No.                                      11   confirm or test the veracity of the fields he
12       Q. Is it your opinion that Dr. Cowan's      12   proposes to use, that's correct.
13   methodologies are not capable of identifying    13      Q. What do you mean by that?
14   any class members?                              14      A. I mean what I said.
15       A. As expressed in his report, yes,         15      Q. When you said, In the absence of --
16   reliably.                                       16   my transcript reads, In the absence of the
17       Q. Why?                                     17   methodology, did you say the methodology or a
18       A. So paragraph B, little I, says, Dr.      18   methodology?
19   Cowan's proposed methodologies cannot           19      A. A methodology.
20   adequately identify class members, if any,      20      Q. When you referred me to subpart I
21   because all of the methodologies, except        21   of paragraph 14-B, you focused first on the
22   unreliable user-entered data at face value,     22   part that talks about -- let me withdraw
23   as if it were completely reliable, without      23   that.
24   any empirical support, that it is actually      24         When you referred me to paragraph
25   reliable.                                       25   14-B(i), at the beginning of that paragraph,

                                           Page 43                                            Page 45
 1             G. Halm                                1             G. Halm
 2          In fact, the user-entered name of         2   it refers to Dr. Cowan's methodologies
 3   copyright owner field he proposes to use does    3   accepting unreliable user-entered data at
 4   not reliably identify the name of the            4   face value as if it were completely reliable.
 5   copyright owner and the user-entered title of    5          Do you see that?
 6   copyrighted work field he proposes to use        6       A. I do.
 7   does not reliably identify the specific          7       Q. Is it your opinion that the
 8   copyrighted work. Verifying the accuracy of      8   user-entered data that Dr. Cowan proposes to
 9   any entry in these fields would require          9   rely on with his methodologies and that you
10   individualized inquiry.                         10   were referencing there is completely
11      Q. Anything else?                            11   unreliable?
12      A. Item 2 would relate to the                12       A. I've identified numerous instances
13   methodology to estimate the size of the         13   where it is not reliable. I've reviewed or
14   class, not as much to identify any class        14   have not seen corroborative or alternate
15   members, so if the task is to find at least     15   analysis confirming its reliability, however,
16   one, the issue of a manual methodology isn't    16   I have not done an analysis and do not have
17   really relevant, would seem to be an            17   an opinion that every entry in that field --
18   encumbrance, per se.                            18   in those fields is unreliable.
19          So item 2 relates more to if I'm         19       Q. Do you have a belief -- let me
20   trying to find the full quantum.                20   withdraw that.
21          Item 3, as written in his report,        21          Do you have an opinion as to
22   would run to the issue of any, item --          22   whether any of the user-entered data that Dr.
23   paragraph 14, item B, No. 3, would run to       23   Cowan's methodologies propose to rely on is
24   that issue, as well, with respect to the CLFN   24   accurate?
25   class.                                          25       A. What do you mean by accurate?

                                                                        12 (Pages 42 to 45)
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                                         Page 46                                                Page 48
 1              G. Halm                               1              G. Halm
 2       Q. Factually correct.                        2   owner, because that's the purpose for which
 3       A. I think it would depend on the            3   it's used in Dr. Cowan's method.
 4   question posed.                                  4          In footnote 111, I've identified at
 5          Dr. Cowan is relying on it for a          5   least three values in the field that might
 6   certain purpose. It's not clear that that        6   correspond to more records, so it's at least
 7   purpose is the purpose that the user intended    7   three records. Not in the sample takedown
 8   to convey when entering that information, so     8   data, but in other data, at the end of
 9   it would depend on the -- what was being --      9   paragraph 75, there is a reference to a
10   what's being communicated with the posting      10   takedown from plaintiff, Uniglobe, with
11   into that field.                                11   respect to the 20th Century Fox opening
12       Q. Does that mean you have an opinion       12   sequence.
13   that the user-entered data in the databases     13          In paragraph 77, there is an
14   that Dr. Cowan proposes to rely upon for his    14   instance where the name which corresponds to
15   methodologies contains no factually correct     15   5,488 records in the data where the name of
16   information?                                    16   the copyright owner field has a value of
17       A. I don't have that opinion.               17   essentially a third party copyright
18       Q. I take it from one of your earlier       18   management company and the title of the
19   answers that you did not engage in any          19   copyrighted work is referring to a generic TV
20   analyses to determine the amount of             20   series and not the specific -- that contains
21   information in the data fields that Dr.         21   thousands of episodes, I believe, and not the
22   Cowan's methodology proposes to rely on that    22   specific works, 1,092 episodes and not the
23   is or is not accurate, is that right?           23   specific episodes in question.
24       A. I identified instances that are not      24          Paragraph 79 -- withdraw that.
25   accurate. I did not undertake a methodology     25          Paragraph 80 then identifies other

                                         Page 47                                                Page 49
 1              G. Halm                               1             G. Halm
 2   to identify instances that were accurate and     2   instances where the title of the copyrighted
 3   I did not identify all instances that were       3   work is too generic, so as to be sufficiently
 4   inaccurate.                                      4   accurate.
 5       Q. You identified -- let me withdraw         5          One example there is with respect
 6   that.                                            6   to a mobile video game and the other relates
 7          When you say that you identified          7   to the Indian Premier League 2019.
 8   instances that are not accurate, is that when    8       Q. Anything else?
 9   you referred to entries of titles of works       9       A. Not in my report.
10   that included the phrase, my video?             10       Q. For the video games, you give a
11       A. That's part of it.                       11   number of instances that you found inaccurate
12       Q. What else?                               12   records?
13       A. Paragraph 74 through 80.                 13       A. I do not have the number of
14       Q. Anything else?                           14   instances in the report. I do know it was
15       A. Not in my report.                        15   most definitely more than one. I think it
16       Q. In paragraph 74, you found 483           16   was a large number, I just don't have it.
17   records where the field for the title of        17       Q. Do you give the number with respect
18   copyrighted work and the sample takedown data   18   to the Indian Premier League?
19   started with the phrase, my video, right?       19       A. I don't. Same answer, I do recall
20       A. Correct.                                 20   it was far more than one, I just don't
21       Q. And then how many other records do       21   remember how many.
22   you identify that were not accurate?            22       Q. When you refer to the -- let me
23       A. So just to preface that accuracy         23   withdraw that.
24   here, the context of identifying the specific   24          These are examples you were able to
25   copyrighted work or the specific copyrighted    25   find out of the 90-day sample takedown data?

                                                                         13 (Pages 46 to 49)
          Case 3:20-cv-04423-JD Document 254-4 Filed 03/03/23 Page 11 of 23

                                          Page 50                                             Page 52
 1              G. Halm                               1             G. Halm
 2      A. That's correct.                            2   with him.
 3      Q. There are approximately 1.8 million        3       Q. Did you work with Dr. Peterson in
 4   entries in that data, is that right?             4   any capacity, other than in connection with
 5      A. That's about right.                        5   this case?
 6      Q. Would you agree with me that the           6       A. No.
 7   numbers you identified in your report are a      7       Q. Did you talk with Dr. Peterson at
 8   very small fraction of the entries in that       8   all about whether he has any views about the
 9   database?                                        9   level of precision required in a class action
10      A. The numbers identified in my report       10   case?
11   are a small fraction, that's correct.           11       A. No.
12          I did not seek out to identify all       12       Q. Did you have any discussions with
13   the entries.                                    13   Dr. Peterson about whether he is aware of any
14      Q. Do you think it would be fair for         14   papers on that subject?
15   me to conclude, based on your not identifying   15       A. No, and you can continue your
16   any others, that you had not actually           16   questioning, I was just going to ask if I
17   identified any others than those that you put   17   could take a bathroom break.
18   into your report?                               18       Q. Two more questions.
19      A. I don't.                                  19       A. Totally fine.
20      Q. Why not?                                  20       Q. Did you talk with Dr. Peterson at
21      A. Because I characterize these as           21   all about whether he had written any papers
22   examples.                                       22   about the level of precision required in a
23      Q. Do you think it would be fair for         23   class action case?
24   me to conclude that because you do not          24       A. No.
25   identify the number of video game entries       25       Q. Did you talk with Dr. Peterson

                                          Page 51                                             Page 53
 1             G. Halm                                1             G. Halm
 2   where you say the information is not             2   about the doctoral thesis for his Ph.D.?
 3   accurate, that there actually are no video       3      A. No.
 4   game entries where the information is not        4      Q. Do you know what that was in?
 5   accurate?                                        5      A. No.
 6      A. Can you say that one more time,            6         MR. KOROLOGOS: Why don't we take a
 7   please.                                          7      break.
 8      Q. Sure.                                      8         THE VIDEOGRAPHER: The time is now
 9         Do you think it would be fair for          9      approximately 10:45 a.m. We are now
10   me to conclude that because you do not          10      going off the record.
11   identify the number of video game entries       11         (Recess.)
12   where you say the information is not            12         THE VIDEOGRAPHER: The time is
13   accurate, that there actually are no video      13      approximately 10:58 a.m. We are now
14   game entries where the information is not       14      going back on the record.
15   accurate?                                       15      Q. Good morning again.
16      A. No, because I identify at least           16      A. Good morning.
17   one, so there can't be zero, and, again,        17      Q. We talked a little bit this morning
18   characterize it as an example.                  18   about the 90-day sample takedown database.
19      Q. Working on your report, did you           19         Do you recall that?
20   have any conversations with Dr. Peterson, one   20      A. I do.
21   of defendant's other experts?                   21      Q. And that even after the court's
22      A. I've had discussions with Dr.             22   narrowing of the statute of limitations start
23   Peterson. I don't believe I would               23   period to July 2nd of 2019, as we talked
24   characterize them as in working on my report,   24   about this morning, there is still only a
25   but during the case, I've had discussions       25   portion of the takedown data available for

                                                                        14 (Pages 50 to 53)
          Case 3:20-cv-04423-JD Document 254-4 Filed 03/03/23 Page 12 of 23

                                         Page 74                                              Page 76
 1             G. Halm                                1             G. Halm
 2   others on your team reviewed portions of the     2   respect to Dr. Singer's November 17th report?
 3   depositions that -- let me withdraw that.        3      A. I have not been asked to offer any
 4          Do I understand correctly that you        4   opinions with respect to his November 17th
 5   only reviewed parts of the depositions that      5   report.
 6   are listed on page 2 of appendix B?              6      Q. Sticking with that page of your
 7       A. Your question is that I only              7   appendix B, there is then a list of documents
 8   reviewed parts of the depositions that are       8   produced in the litigation that are
 9   listed on appendix B besides Mr. Agrawal?        9   identified by Bates number.
10       Q. Yes.                                     10         Do you see that?
11       A. That's correct.                          11      A. I do.
12       Q. Do I also understand that some           12      Q. Who selected those documents for
13   members of your team read more of those         13   review?
14   depositions than you did?                       14      A. Some of those documents would have
15       A. Correct, I recall telling Mr.            15   been information provided by counsel without
16   Sternberg to and confirming that he did         16   me necessarily asking, perhaps early on in
17   review all of the balance of the deposition     17   the case.
18   transcripts that we received.                   18         Others would have been when I
19       Q. How did you determine what portions      19   requested documents of a certain nature and
20   of the deposition, other than Mr. Agrawal,      20   some of these, I believe, are also
21   you would read?                                 21   essentially produced versions of publicly
22       A. Based on what Mr. Sternberg flagged      22   available content that I had researched, if
23   as potentially pertinent to what my             23   that makes sense. It's a printout of a
24   assignment was and then staff subsequent to     24   Google page of some kind that happens to have
25   him potentially identifying other things, as    25   a Bates number on it, but it's also available

                                         Page 75                                              Page 77
 1             G. Halm                                1             G. Halm
 2   well.                                            2   publicly.
 3      Q. Did the lawyers supplement any of          3       Q. If you flip over to page 4 of your
 4   that selection of portions of the depositions    4   appendix, some of the things on that part of
 5   for you to review?                               5   the research list might show up as Bates
 6      A. I believe they may have flagged            6   stamped versions that were produced in the
 7   things to look at. If I inquired about, you      7   case?
 8   know, a particular topic or what deposition      8       A. I don't know -- that's possible, I
 9   testimony might be most relevant to the          9   don't know that's necessarily the case. I
10   subject.                                        10   believe that the way it would have happened
11      Q. Right above depositions, there is         11   is if we had listed some website and then
12   an identification of plaintiffs' reports.       12   perhaps counsel said, oh, there is a Bates
13         Do you see that?                          13   stamp version of that, can you list that, so
14      A. You are referring to my appendix B?       14   then we would have not listed it under
15      Q. Yes, I am.                                15   research.
16      A. Correct.                                  16          Generally, I try for research to be
17      Q. That lists Dr. Cowan's report,            17   other research obtained by me that isn't a
18   September 1st and his report of November        18   produced document, but it's possible there is
19   17th, correct?                                  19   duplication.
20      A. Correct.                                  20       Q. I may have asked this and, if so, I
21      Q. We talked about those. So you             21   apologize. I think I established that since
22   reviewed both Dr. Singer's September 1st and    22   your report, you have not had a conversation
23   his November 17th expert report?                23   with Mr. Agrawal.
24      A. I did.                                    24          Have you had any conversations with
25      Q. Did you ever any opinions with            25   anyone else from YouTube or Google since you

                                                                        20 (Pages 74 to 77)
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                                           Page 78                                              Page 80
 1              G. Halm                               1             G. Halm
 2   wrote your report?                               2   on the date of your report?
 3      A. No.                                        3      A. That's correct.
 4      Q. I believe your report in paragraph         4      Q. Do I understand correctly, you have
 5   11 identifies BRG's rate for your time at        5   a bachelor of science degree?
 6   $650 an hour, is that correct?                   6      A. Yes.
 7      A. Yes.                                       7      Q. Any other degree?
 8      Q. Was that the rate you charged since        8      A. No.
 9   you were retained in May?                        9      Q. When did you get your BS?
10      A. Yes.                                      10      A. March of 2008.
11      Q. Do you know how much time you spent       11      Q. Where did you get it?
12   on this matter, approximately?                  12      A. University of California at Davis.
13      A. I would say it's approximately 160        13      Q. And in your appendix A to your
14   hours.                                          14   report, which is your CV, on the last page of
15      Q. 1-6-0?                                    15   that, page 6, it identifies education.
16      A. 1-6-0.                                    16          Do you see that?
17      Q. Do you know approximately how much        17      A. Correct.
18   time has been spent by members of your staff    18      Q. Your BS was in managerial
19   above that?                                     19   economics?
20      A. It's at least an equal amount, but        20      A. Correct.
21   I can't give you a precise number.              21      Q. What is managerial economics?
22      Q. When you say, at least an equal           22      A. It's essentially a financial
23   amount, you mean another 160 hours              23   economics degree that UC Davis offers. I
24   distributed among the others?                   24   don't know that I could explain it better
25      A. At least.                                 25   than that. There are two econ degrees at UC

                                           Page 79                                              Page 81
 1              G. Halm                               1             G. Halm
 2      Q. Did you run any regression analyses        2   Davis. There is an econ degree -- or in the
 3   in connection with this case?                    3   field of economics, there's two. There is an
 4      A. I did with respect to YouTube's            4   econ degree that has lower requirements and
 5   cost structure and those are attached at         5   requires someone to minor in something else
 6   schedules 1.1 through 1.4 to my report.          6   and then there is managerial economics, which
 7      Q. Any others that you ran?                   7   has more coursework, that's probably the best
 8      A. No.                                        8   definition I can give, but I've asked the
 9      Q. Did you review any of the -- let me        9   same question.
10   withdraw that.                                  10       Q. Below your bachelor of science in
11          Did you provide any comments to Dr.      11   managerial economics, it reads, Accounting
12   Peterson on his report before it was issued?    12   coursework at University of California
13      A. No.                                       13   Berkeley.
14      Q. Did you review it before it was           14          What coursework are you referring
15   issued?                                         15   to there?
16      A. No.                                       16       A. In order to obtain my CPA license,
17      Q. I take it from your list, you             17   because I didn't obtain an accounting major,
18   reviewed it since it was issued -- actually,    18   I had to take sufficient accounting
19   maybe not.                                      19   coursework, so sit for the exam and get the
20      A. I did. I was given a copy of it           20   license, so it was a number of accounting
21   maybe within the last week or week and a        21   classes, I don't recall how many, after
22   half, but it's not listed on the list of        22   graduating from UC Davis.
23   materials considered as of the date of my       23       Q. And any courses you took at UC
24   report.                                         24   Berkeley, other than for the purpose of
25      Q. Because you had not yet reviewed it       25   getting your CPA?

                                                                         21 (Pages 78 to 81)
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                                             Page 82                                               Page 84
 1              G. Halm                                 1             G. Halm
 2      A. No.                                          2   trial?
 3      Q. What statistics coursework did you           3      A. There are a fair number, yes.
 4   take at Penn State?                                4      Q. How many?
 5      A. I took a -- this would have been in          5      A. Best estimate would be a dozen.
 6   2011 and '12, approximately, maybe spilling        6      Q. Were any of those class actions?
 7   into early '13, but I don't believe so. I          7   And for now, I'm limiting it to the ones
 8   took a number of statistics-related courses        8   where you had a report, but did not testify.
 9   simply because I found I was using statistics      9      A. I understand. I don't believe so.
10   a fair bit at work and then I had more than       10      Q. What about any of the six where you
11   one child and stopped.                            11   testified either at deposition or at trial,
12      Q. So your statistics changed?                 12   were any of those class actions?
13      A. Correct, yeah.                              13      A. No, I don't believe so. The State
14      Q. You were in Pennsylvania at that            14   of Washington matter was sort of like the
15   time?                                             15   state on behalf of people, but it wasn't a
16      A. No, that was Penn State, but                16   class action, per se.
17   remotely, so those were remote classes            17      Q. What about any cases where you've
18   through Penn State.                               18   acted as a consultant as opposed to a
19      Q. When did you get your CPA?                  19   testifying expert, any of those cases class
20      A. 2010, I believe.                            20   actions?
21      Q. Anything you have to do to stay             21      A. Yes.
22   current for that?                                 22      Q. Which cases?
23      A. Yes.                                        23      A. I don't know -- all those cases I
24      Q. What is that?                               24   know have like protective orders and
25      A. There is a continuing education             25   confidentiality agreements, so I don't know

                                             Page 83                                               Page 85
 1             G. Halm                                  1              G. Halm
 2   requirement that is 80 total hours spread          2   whether I'm -- I remember them and I can
 3   over two years with a minimum of 20 in any         3   describe the nature of the case, but I don't
 4   one year.                                          4   know whether I can provide the parties.
 5      Q. So you can't binge all at the end?           5      Q. Approximately how many?
 6      A. You cannot binge all at the end. I           6      A. Probably four or five.
 7   was warned once when I wasn't aware of that        7      Q. What was your role as a consulting
 8   requirement the first time I renewed, but          8   expert in those four or five cases?
 9   hasn't been a problem since then.                  9      A. It would depend on, to some extent,
10      Q. I want to go back to your -- since          10   the status of the case and where it was at,
11   we got the page open to your prior testimony.     11   but in some matters, at least one that I can
12   I understand from what you said earlier, you      12   think of, I was simply helping counsel
13   testified at trial twice, is that right?          13   identify pertinent information and data and
14      A. That's correct.                             14   run analyses of data.
15      Q. And you've been deposed four times?         15          In the balance of the others, that
16      A. I believe that's correct, and               16   would have been an aspect of the analysis, as
17   they're all listed under there.                   17   well as working with a testifying expert and
18      Q. The cases in which you were                 18   also generally advising counsel on different
19   deposed, none of those four went to trial, is     19   issues that came up as the case progressed,
20   that right?                                       20   maybe helping them with depositions of
21      A. That's correct.                             21   experts, things of that nature.
22      Q. Aside from those six cases, four            22      Q. In any of those cases, were you
23   depositions and two trials, are there             23   involved in identifying class members?
24   somewhere you issued a report, but did not        24      A. That would have been part of the
25   have to testify either at deposition or at        25   work, I believe.

                                                                           22 (Pages 82 to 85)
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                                           Page 94                                             Page 96
 1             G. Halm                                1             G. Halm
 2       A. I recall either reviewing testimony       2   successful and the video is reinstated and
 3   or a declaration addressing about some sort      3   some are not, so there are processes applied
 4   of portion of records that have further          4   to evaluate those in some capacity. Exactly
 5   review in terms of their takedown processes.     5   what those processes are, as I sit here, I
 6   I suppose that would address, to some extent,    6   don't have an understanding.
 7   validity in the context of whether that          7       Q. While you may not have an exact
 8   information was sufficient to warrant a          8   understanding, you have a general
 9   takedown.                                        9   understanding, other than what you just
10       Q. And you are familiar, I take it          10   stated, that some process must happen?
11   from some of the things in your report, that    11       A. It must.
12   after a takedown notice is submitted, the       12       Q. But beyond that, you don't have any
13   content may be taken down, the content that     13   understanding?
14   is the target of the takedown notice, is that   14       A. Correct, exactly what those
15   right?                                          15   processes are, I don't have an understanding.
16       A. That can happen.                         16   It's probably in the deposition testimony
17       Q. And that the person who uploaded         17   somewhere.
18   that content could submit what's referred to    18       Q. Even if it's not exact, you don't
19   as a counter notification. Are you familiar     19   have a general understanding, other than that
20   with that?                                      20   there is some process?
21       A. Yes.                                     21       A. Correct.
22       Q. Do you know what -- let me back up.      22       Q. You mentioned earlier that you
23          Other than the -- let me withdraw        23   recalled either reviewing testimony or a
24   that.                                           24   declaration where some portion of records
25          With respect to counter                  25   would have further review.

                                           Page 95                                             Page 97
 1             G. Halm                                1            G. Halm
 2   notifications, do you know how those get         2         What do you recall about that?
 3   submitted?                                       3      A. Well, the only thing that sticks
 4       A. Logistically, how they get                4   into my memory is something about looking
 5   submitted?                                       5
 6       Q. You said you are familiar with how        6   my mind, but some percentage of records have
 7   Web Forms get submitted and you looked at        7   some kind of review and this was in the
 8   that?                                            8   context of me researching the speed of
 9       A. Correct.                                  9   processing a takedown and the information
10       Q. So a corollary being how does            10   considered.
11   somebody submit a counter notification, are     11          So this was essentially in the
12   you familiar with that?                         12   context of evaluating the question of if a
13       A. I am not.                                13   takedown is submitted and then another
14       Q. Are you familiar at all with what        14   takedown for the same work for other YouTube
15   YouTube does with the information it receives   15   videos were to be, say, submitted immediately
16   in a counter notification?                      16   thereafter, would the first takedown have
17       A. I am not.                                17   been capable of being evaluated when the
18       Q. Do you know what YouTube does if         18   second takedown was submitted, so I was just
19   anything with the information received from a   19   gaining a general understanding as to the
20   counter notification, other than to record      20   sort of the timeline and whether it's a fully
21   that a counter notification was received, as    21   automated or whether there are other aspects
22   you know, from the 90-day sample?               22   of the review for processing takedowns.
23          MR. KRAMER: Objection to form.           23       Q. Anything else you recall about
24       A. I know that something is done with       24   that?
25   it because some counter notifications are       25       A. No, no. I believe that that

                                                                        25 (Pages 94 to 97)
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                                          Page 98                                           Page 100
 1             G. Halm                                1             G. Halm
 2   deposition testimony, though, is cited --        2   databases, aside from sampling technique?
 3   what is the name of the individual for the       3      A. No.
 4   record here? Chris Ting.                         4      Q. Do you have an understanding of
 5      Q. Where are you referring in your            5   what the Sound Exchange database is set up to
 6   report?                                          6   do?
 7      A. Footnote 79. T-I-N-G.                      7      A. I know that one of the things in
 8      Q. So that was with respect to the            8   the Sound Exchange database is an ISRC search
 9   length of time it takes to resolve a             9   function where one can search on the artist
10   takedown, is that right?                        10   name, title, release name, version or year of
11      A. The length of time and the                11   recording.
12   testimony discussed the processes and that      12      Q. Anything else?
13   wasn't the only -- that was the most relevant   13      A. I am not aware of what other things
14   portion of Mr. Ting's testimony, that I know    14   one might be able to do with the Sound
15   that he spoke about processes in one or two     15   Exchange database.
16   other places.                                   16      Q. Do you know why Sound Exchange has
17      Q. Any other testimony or other              17   that data available?
18   documents you recall reviewing about what       18      A. I don't.
19   YouTube does after it receives a takedown       19         MR. KOROLOGOS: Why don't we break
20   notice?                                         20      for lunch?
21      A. No.                                       21         THE VIDEOGRAPHER: The time is now
22      Q. Do you recall that Dr. Cowan relies       22      approximately 12:40 p.m. We are now
23   on -- let me withdraw that.                     23      going off the record.
24          Do you recall that Dr. Cowan's           24         (Luncheon recess taken at 12:40
25   methodologies propose using various different   25      p.m.)

                                          Page 99                                           Page 101
 1             G. Halm                                1             G. Halm
 2   third party databases?                           2           AFTERNOON SESSION
 3      A. Yes.                                       3           (Time noted: 1:29 p.m.)
 4      Q. Did you attempt to -- let me               4   G R E G H A L M, resumed and testified
 5   withdraw that.                                   5   as follows:
 6          Did you review any of those               6          THE VIDEOGRAPHER: The time is now
 7   databases?                                       7      approximately 1:29 p.m. and we are now
 8      A. There were two databases which he          8      going back on the record.
 9   obtained and produced. The U.S. Copyright        9   EXAMINATION BY (Cont'd.)
10   Database and the MusicBrainz database, I        10   MR. KOROLOGOS:
11   reviewed those. I also reviewed those           11      Q. Good afternoon.
12   databases as they exist in an online            12      A. Good afternoon.
13   searchable form.                                13      Q. Do you remember a discussion in
14          He then referred to EIDR, Sound          14   your report about -- I withdraw that.
15   Exchange and INDB, but did not provide what I   15          Do you remember a discussion in
16   would call like a static database, a            16   your report concerning cleaned data?
17   downloaded database from the sources, but I     17      A. Yes.
18   reviewed those databases in their online        18      Q. If you look over at paragraph 60, I
19   searchable forms, as well.                      19   think is the neighborhood of that discussion.
20      Q. Did you use any sampling techniques       20   Let me know if that's right. Page 29.
21   to conduct tests of the reliability of any of   21      A. Okay. Clean fields.
22   those databases?                                22      Q. Clean fields, yes.
23      A. No.                                       23          In paragraph 60, you start by
24      Q. Did you perform any other                 24   saying, Dr. Cowan asserts that these issues
25   statistical analyses of any of those            25   would be addressed if YouTube would produce

                                                                      26 (Pages 98 to 101)
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                                        Page 102                                              Page 104
 1               G. Halm                              1              G. Halm
 2   the clean fields.                                2       A. I reviewed the takedown data. I
 3           Do you see that?                         3   have an understanding that perhaps there is
 4       A. I do.                                     4   other data that can be obtained, for example,
 5       Q. Setting aside for the moment -- let       5   like in the counter notification process,
 6   me withdraw that.                                6   maybe there are communications of some kind,
 7           If you assumed those clean fields        7   so it's my understanding that other
 8   existed, do you believe that would help with     8   information -- I don't know if I would want
 9   respect to this aspect of Dr. Cowan's            9   to call it data elements, but other
10   proposed methodology?                           10   information can exist in correspondence
11       A. If, in the hypothetical, that they       11   perhaps.
12   existed, it might, but it would depend on how   12       Q. Do you know what YouTube does with
13   they were cleaned and it's a hypothetical       13   any of that information that's obtained in
14   that's somewhat hard to understand because      14   correspondence as opposed to on the Web Form
15   it's a difficult process, so it would depend    15   itself?
16   on the processes employed to clean those        16       A. I do not.
17   fields.                                         17       Q. So you don't know whether that gets
18       Q. Okay. Why don't we try a                 18   incorporated into the takedown notice
19   hypothetical to explore that a little bit.      19   database or incorporated into some other
20           Let's assume that somebody submits      20   database or something else that happens with
21   a takedown notice and a takedown notice and     21   that information?
22   that is submitted through the Web Form as a     22       A. I do not.
23   description of the copyrighted work that is     23       Q. Do you have any understanding of
24   vague or incomplete, and assume -- let's stop   24   any of the types of information that might be
25   there.                                          25   obtained in a communication process similar

                                        Page 103                                              Page 105
 1             G. Halm                                1             G. Halm
 2          Are you with me so far in                 2   to what you described a moment ago?
 3   understanding the hypothetical?                  3      A. Not specifically.
 4      A. Generally, I mean, the reference           4      Q. Do you have any understanding,
 5   point's important for this, so it would be       5   generally?
 6   vague or incomplete as to what comparative       6      A. By inference, there might be
 7   data point, I guess, but, generally, I think     7   information, for example, with respect to
 8   I'm tracking with you.                           8   whether a license for permission exists to
 9      Q. By vague or incomplete, I meant            9   display a video, for example, with an
10   that the information entered for the name of    10   unsuccessful or a counter notification that
11   the copyright work.                             11   did not result in the video being -- a
12          Do you understand that?                  12   counter notification where a video was
13      A. I do.                                     13   reinstated, that information may have been
14      Q. Let's assume that somebody at             14   exchanged.
15   YouTube sees that that information is vague     15      Q. Any other understanding or
16   or incomplete and they ask for additional       16   inference?
17   information from the person who submitted the   17      A. No.
18   takedown notice.                                18      Q. In that instance where you talk
19          Are you with me so far?                  19   about a counter notification that results in
20      A. Yes.                                      20   a video being reinstated, that's effectively
21      Q. Let me first ask, are you aware of        21   a successful counter notification, right?
22   any instances like that?                        22      A. Possibly, yes, probably is. I
23      A. Not offhand.                              23   don't know if there are other reasons that a
24      Q. When you say, not offhand, what do        24   video can come back up outside of the counter
25   you mean?                                       25   notification process.

                                                                     27 (Pages 102 to 105)
          Case 3:20-cv-04423-JD Document 254-4 Filed 03/03/23 Page 18 of 23

                                         Page 106                                           Page 108
 1             G. Halm                                1              G. Halm
 2       Q. One way, as you understand it, that       2   mean?
 3   a video can come back up is because after        3      A. A musical track assigned.
 4   being taken down by a takedown notice, the up    4      Q. Do you know what YouTube uses ISRC
 5   loader submits a counter notification and if     5   codes for, if anything?
 6   the counter notification ends up itself being    6      A. I don't.
 7   successful, the video gets put back up?          7      Q. In paragraph 48 of your report, on
 8       A. That would be one way.                    8   page 24. Are you with me?
 9       Q. Are you aware of any other way that       9      A. I am.
10   the video might get put back up that had been   10      Q. In that paragraph, in the second
11   taken down as a result of a takedown notice?    11   sentence, you say, Dr. Cowan proposes that he
12       A. I would suppose that there could be      12   would identify takedown records that have an
13   many possible ways. I would assume that a       13   ISRC code by matching takedown notice
14   possible way could be if the parties, the       14   information to the Sound Exchange website
15   third parties are not YouTube, outside of the   15   based on the owner name or artist name and
16   counter notification process entered into       16   the title of the copyrighted work, but he
17   some kind of agreement with respect to the      17   does not specify the exact fields he would
18   content and it came back up, for example,       18   use to undertake this matching exercise.
19   that seems like a possibility.                  19          Do you see that?
20       Q. Are you aware of any such                20      A. I do.
21   instances?                                      21      Q. Did you attempt to do what Dr.
22       A. No.                                      22   Cowan describes there?
23       Q. Any other possibilities that you         23      A. I did not because his description
24   are aware of?                                   24   was not sufficiently specific to know exactly
25       A. No.                                      25   what he is proposing.

                                         Page 107                                           Page 109
 1              G. Halm                               1            G. Halm
 2       Q. Any other possibilities that you          2       Q. Did you try to take any information
 3   might think exist?                               3   available from the sample takedown data and
 4       A. I haven't thought about it hard           4   try to compare any of that information with
 5   enough.                                          5   any information available from Sound
 6       Q. In the situation where a video is         6   Exchange?
 7   taken down as a result of a takedown notice      7       A. Not that I recall.
 8   and then a counter notification results in       8       Q. Do you know if anybody on your team
 9   the video being reinstated. Are you with me      9   did?
10   so far?                                         10       A. Not specifically.
11       A. I am.                                    11       Q. Do you know generally?
12       Q. Is it your understanding that Dr.        12       A. No.
13   Cowan's methodology would not count that        13       Q. Are you offering an opinion that it
14   instance as a successful takedown notice for    14   is not possible to engage in any matching
15   purposes of the class definitions?              15   process between the takedown data and Sound
16       A. I believe that would be correct          16   Exchange?
17   with respect to his analysis of the takedown    17       A. No.
18   data. If it's in the takedown data and it's     18       Q. Over to paragraph 85.
19   active, he would not include that in the        19       A. I'm there.
20   class.                                          20       Q. Paragraph 85 quotes a portion of
21       Q. Okay. What is your understanding         21   what appears to be paragraph 94 of Dr.
22   of what an ISRC code is?                        22   Cowan's report, correct?
23       A. My general understanding is that         23       A. Correct.
24   it's a unique code assigned to a track.         24       Q. Then in the first sentence of
25       Q. When you say, track, what do you         25   paragraph 86, you comment on that quoted

                                                                    28 (Pages 106 to 109)
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                                        Page 122                                            Page 124
 1             G. Halm                                1              G. Halm
 2   it was displayed on YouTube, but when it was     2   latent structure theory.
 3   displayed, did it no longer have the CLFN        3       Q. Okay. Which he helps us with?
 4   information or was that copyright management     4       A. There you go.
 5   information altered?                             5          MR. KOROLOGOS: Why don't we take a
 6       A. Correct. That would be -- that's          6       short break.
 7   the issue we are talking about. It's not         7          THE VIDEOGRAPHER: The time is now
 8   something that I'm necessarily taking            8       approximately 2:21 p.m. We are now
 9   exception to, one way or the other or not.       9       going off the record.
10       Q. Do you still have Dr. Cowan's            10          (Recess.)
11   report in front of you?                         11          THE VIDEOGRAPHER: The time is now
12       A. I do.                                    12       approximately 3:05 p.m. We are now
13       Q. If you can flip to paragraph 63,         13       going back on the record.
14   please.                                         14       Q. Thanks for your patience on the
15       A. I'm there.                               15   break. It helped us organize things so we
16       Q. We talked a little bit about this        16   can finish quickly I hope.
17   this morning.                                   17       A. You're welcome.
18          Do you recall that?                      18       Q. Do you know whether YouTube has
19       A. I do.                                    19   data about the number of times a video that
20       Q. You focused on the last sentence of      20   is in the takedown database as having been
21   paragraph 63.                                   21   taken down was viewed?
22          The first sentence reads,                22       A. I think I testified earlier that I
23   Traditional sampling theory is not equipped     23   recall seeing data potentially of that type
24   to deal with this problem.                      24   with respect to the named plaintiff data, as
25          Do you see that?                         25   I recall. I haven't made that inquiry with

                                        Page 123                                            Page 125
 1             G. Halm                                1             G. Halm
 2       A. I do.                                     2   respect to general takedowns.
 3       Q. And what's your understanding of          3       Q. What about data about the location
 4   the problem that he is referring to there?       4   that a view took place, like the IP address
 5       A. Understanding the sequence number         5   of the computer that was used to view a
 6   of a takedown in the data with respect to        6   YouTube video, do you know whether YouTube
 7   other takedowns for the same work.               7   keeps track of that?
 8       Q. The second sentence of paragraph          8       A. I do not.
 9   63, Dr. Cowan writes, More advanced areas of     9       Q. What about the location from which
10   probability theory such as latent structure     10   an upload occurred, like an IP address or
11   theory need more information to be able to      11   even just a country, do you know whether
12   put into practice.                              12   YouTube keeps track of that?
13          Do you see that?                         13       A. I do not.
14       A. I do.                                    14       Q. What about the location at which
15       Q. What's your understanding of latent      15   the video that is available for display on
16   structure theory?                               16   YouTube is electronically stored, do you know
17       A. I don't really have one and you          17   whether YouTube keeps data with respect to
18   didn't investigate it much because he raises    18   that?
19   it and then dismisses it because he says it     19       A. Can you say that one more time
20   needs more information.                         20   because you had a pause, so it was hard to
21       Q. What's your understanding of             21   follow.
22   advanced areas of probability as he uses that   22       Q. Sorry.
23   in the second sentence of paragraph 63?         23       A. That's all right.
24       A. I would be speculating as to what        24       Q. Do you know whether YouTube has
25   he meant to convey, other than referring to     25   data about the location at which a video that

                                                                     32 (Pages 122 to 125)
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                                       Page 126                                              Page 128
 1             G. Halm                                1             G. Halm
 2   is available for display on YouTube is           2   incremental cost would be costs associated
 3   electronically stored?                           3   with that revenue that YouTube did receive,
 4       A. I do not.                                 4   but would not have received in a but-for
 5       Q. You still have your report there?         5   world.
 6       A. I do.                                     6      Q. How did you go about identifying
 7       Q. Let's go back to your last section,       7   incremental costs for purposes of your chart
 8   section 5. The heading for section 5 is          8   3 that appears between paragraphs 104 and 105
 9   Analysis of the Now Abandoned Damages            9   of your report?
10   Calculation Methodology Proposed in Dr.         10      A. So my first step was to review the
11   Cowan's Initial Report.                         11   relevant financial reports that have been
12         Do you see that?                          12   produced in this case.
13       A. I do.                                    13          Also, those are publicly available.
14       Q. You understand that that's -- when       14   That data is summarized at schedule 1.0 of my
15   you are saying now abandoned, that's no         15   report and another step was to gain a further
16   longer in Dr. Cowan's November report and,      16   understanding of the nature of the costs and
17   instead, Dr. Singer talks about damages.        17   with more specificity, by discussing those
18         Do you remember that from the             18   costs with Mr. Agrawal and then after doing
19   reports?                                        19   those two things, I used a method that is
20       A. That is my understanding.                20   commonly employed by forensic accountants to
21       Q. If I understand from your testimony      21   run a linear regression analysis where the
22   earlier, it's not been your assignment to       22   cost is the dependent variable, so the Y
23   comment on Dr. Singer's report at all, is       23   variable and the revenue is the independent
24   that right?                                     24   variable, the X variable.
25       A. Not his November report, that is         25          So it measures the relationship

                                       Page 127                                              Page 129
 1             G. Halm                                1             G. Halm
 2   correct.                                         2   between those two things and the results of
 3       Q. Not Dr. Singer's November report?         3   that are posted in chart 3. There is a fixed
 4       A. Correct. Thank you for clarifying         4   amount which is essentially the intersect in
 5   that.                                            5   each regression and then there is the
 6       Q. You understand that that's Dr.            6   variable cost which is the coefficient on the
 7   Singer's operative report?                       7   X variable in each regression.
 8       A. I do.                                     8      Q. Let's talk about schedule 1.0.
 9       Q. Even though Dr. Cowan doesn't             9      A. Okay.
10   address damages in his November report, since   10      Q. This schedule has the heading
11   you talk about it here a little bit, I want     11   Summary of YouTube Profit and Loss Statement
12   to talk with you about it a little bit.         12   Data, correct?
13       A. Okay.                                    13      A. Correct.
14       Q. In your subpart C, you say, Dr.          14      Q. Did you use all of the data in this
15   Cowan did not account for YouTube's             15   schedule 1.0 in your regression?
16   incremental costs.                              16      A. I believe I did, but just give me
17          Do you see that?                         17   one moment. I did. Other than the column
18       A. I do.                                    18   that says, SEC filings is more for
19       Q. What do you mean by incremental          19   corroborative purposes, so that's listing the
20   costs?                                          20   annual or half year revenue information
21       A. In a damages analysis such as this       21   published in Alphabet's SEC filings. That
22   one, if we are identifying the revenue,         22   annual data was not used in the regression.
23   hypothetically, that YouTube received because   23   The monthly data was used in the regression.
24   of the allegedly infringing acts, that it       24      Q. What did you do about the instances
25   otherwise would not have received the           25   where the SEC filing data did not match the

                                                                     33 (Pages 126 to 129)
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                                          Errata Sheet



 Page:Line       Change                                           Reason

 9:21            Replace <is> with <has>                          To correct transcription errors

 9:21            Replace <826> with <1,826>                       To correct transcription errors

 10:4            Replace <variants> with <variation>              To correct transcription errors

 21:16           Replace <created a copyright on the > with       To correct transcription errors
                 <can query the copyright owner>

 23:25           Replace <826> with <1,826>                       To correct transcription errors

 25:16           Replace <identify> with <identified>             To correct transcription errors

 42:21           Replace <except> with <accept>                   To correct transcription errors

 45:13           Replace <I’ve> with <I haven’t>                  To correct transcription errors

 60:16           Replace <title> with <tight>                     To correct transcription errors

 66:9            Insert <and> between <me> and <in>               Clarify the record

 70:9            Insert <not> between <had> and <been>            To correct transcription errors

 81:19           Replace <so> with <to>                           To correct transcription errors

 87:5            Replace <RC> with <CV>                           To correct transcription errors

 99:15           Replace <INDB> with <IMDb>                       To correct transcription errors

 123:17          Replace <you> with <I>                           To correct transcription errors

 133:19          Replace <interest> with <difference>             To correct transcription errors

 141:12                                                           To correct transcription errors

 152:12          Replace <it> with <in>                           To correct transcription errors

 167:15          Replace <but> with <about>                       To correct transcription errors




    X
__________        Subject to the above changes, I certify that the transcript is true and correct.




                                                1
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__________       No changes have been made. I certify that the transcript is true and correct.




_____________________________                                 February 22, 2023
                                                          _________________________
          (signature)                                                 (date)




                                              2
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                            ACKNOWLEDGMENT OF DEPONENT

       I, Greg Halm, do hereby certify that I have read and examined the foregoing testimony,

and that the same is a correct transcription of the answers given by me to the questions therein

propounded, except for the corrections or changes in form or substance, if any, noted in the

attached Errata Sheet.



_____________________________                                      February 22, 2023
                                                            _________________________
          (signature)                                                  (date)




                                                3
